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8                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
9                                      AT SEATTLE
10    UNITED STATES OF AMERICA,
11                  Plaintiff,
                                                           Case No. CR13-197RSL
12           v.
                                                           ORDER DENYING DEFENDANT’S
13    KAJUAN MARTIN RINGO,                                 MOTION TO REVOKE
                                                           DETENTION ORDER
14                  Defendant.
15
16
17          This matter comes before the Court on “Defendant Kajuan Ringo’s Motion to
18   Revoke Detention Order” (Dkt. # 107). The Defendant asks this Court to reverse the
19   detention order issued by the Honorable Brian A. Tsuchida, United States Magistrate
20   Judge. See Dkt. # 33.       For the reasons set forth below, the Court finds that no condition
21   or combination of conditions will reasonably assure the safety of other persons and the
22   community. Therefore, the Court DENIES the defendant’s motion and orders defendant
23   be detained pending trial.
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1                                        BACKGROUND
2           On June 19, 2013, a grand jury indicted Mr. Ringo on a charge of conspiracy to
3    distribute oxycodone in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C). Dkt. # 1. Mr.
4    Ringo was arrested on July 11, 2013 in the Central District of California. Dkt. # 107. On
5    the same day, he appeared at a detention hearing and arraignment before the Honorable
6    Michael Wilner, Magistrate Judge. Dkt. # 18. Magistrate Judge Wilner ordered Mr.
7    Ringo detained and removed to the Western District of Washington. Id. Once in this
8    district, Judge Tsuchida ordered Mr. Ringo detained pending trial at a hearing on July 23,
9    2013, despite Pretrial Services’ recommendation for release with conditions. Dkt. # 33.
10   Judge Tsuchida found no conditions of release that would guarantee the safety of the
11   community. Id.
12          On August 14, 2013, a grand jury returned a First Superseding Indictment charging
13   Mr. Ringo with four criminal violations: Count One, conspiracy to distribute oxycodone
14   in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C), and § 846; Count Two, distribution of
15   oxycodone in violation of 21 U.S.C. § 841(a)(1) and § 841(b)(1)(C); Count Six,
16   possession of a firearm in furtherance of a drug trafficking crime in violation of 18 U.S.C.
17   § 924(c); and Count Seven, conspiracy to launder money in violation of 18 U.S.C. §
18   1956(h). Dkt. # 46. The Honorable Mary Alice Theiler, Magistrate Judge, ordered that
19   Mr. Ringo’s detention be continued on the same day. Dkt. # 48. On August 28, 2013,
20   Mr. Ringo appeared before the Honorable Dean Brett, Magistrate Judge, for an
21   arraignment on the charges from the First Superseding Indictment. Dkt. # 74. Mr. Ringo
22   pled not guilty to all charges and was remanded to custody.
23          On October 3, 2013, Mr. Ringo filed a motion to revoke his detention order.
24   Dkt. # 107. Mr. Ringo cites insufficient medical care for his heart condition as support
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1    for a release. Id. In addition, Mr. Ringo offers to have his release secured by his
2    grandmother, who signed an affidavit of surety deeding her home, which has
3    approximately $70,000 to $100,000 in equity. Dkt. # 107.
4                                          DISCUSSION
5    I. Standard of Review
6           The Court reviews the pretrial detention order of a magistrate judge de novo.1
7    United States v. Koenig, 912 F.2d 1190, 1191 (9th Cir. 1990). Although the Court
8    considers the evidence presented to the magistrate judge, it accords no deference to the
9    magistrate judge’s findings of fact and ultimate conclusion. Id. at 1193. The Court may
10   also hold additional evidentiary hearings and consider evidence that was not before the
11   magistrate judge. Id.
12   II. Bail Reform Act
13          The Bail Reform Act requires a court to order detention of a person pending trial
14   upon finding, “that no condition or combination of conditions will reasonably assure the
15   appearance of the person as required and the safety of any other person and the
16   community . . . .” 18 U.S.C. § 3142(e). To prevent a defendant’s release, the government
17   must prove that a defendant is a danger to the community by clear and convincing
18   evidence, or it must prove that a defendant is a flight risk by a clear preponderance of the
19   evidence. United States v. Motamedi, 767 F.2d 1403, 1406 (9th Cir. 1985).
20          Pretrial detention should only be granted “in rare circumstances . . . and any doubts
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22          1
              While the Government correctly cites United States v. Hir, 517 F.3d 1081, 1086
23   (9th Cir. 2008) for the assertion that a district court’s factual findings concerning the
     danger that a defendant poses to the community are reviewed by the Ninth Circuit under a
24   “deferential, clearly erroneous standard,” the defendant here is challenging the magistrate
25   judge’s order, not the district court’s order.

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1    regarding the propriety of release should be resolved in the defendant’s favor.” United
2    States v. Gebro, 948 F.2d 1118, 1121 (9th Cir. 1991). The Court may impose conditions
3    that it deems necessary to guard against a defendant’s flight or danger to the community.
4    See 18 U.S.C. § 3142(c). In deciding whether conditions could reasonably assure the
5    defendant’s appearance and the safety of the community, the Court evaluates four factors:
6    “(1) the nature and circumstances of the offense charged . . . ; (2) the weight of the
7    evidence against the person; (3) the history and characteristics of the person . . . ; and (4)
8    the nature and seriousness of the danger to any person or the community that would be
9    posed by the person’s release.” 18 U.S.C. § 3142(g).
10          Section 3142(e) provides that a rebuttable presumption against pretrial release
11   exists when a court finds probable cause that the defendant committed an offense under
12   21 U.S.C. § 841 or 18 U.S.C. § 924(c). See 18 U.S.C. § 3142(e)(3)(A)-(B). For
13   purposes of § 3142(e), an indictment by a grand jury establishes probable cause triggering
14   the presumption. See United States v. Ward, 63. F. Supp. 2d 1203, 1209 (C.D. Cal.
15   1999). In order to rebut the presumption, the defendant must produce evidence that he
16   does not pose a danger to the community or a risk of flight. United States v. Abad, 350
17   F.3d 793, 797 (8th Cir. 2003). Although the presumption shifts a burden of production to
18   the defendant, the burden of persuasion remains with the government. United States v.
19   Hir, 517 F.3d 1081, 1086 (9th Cir. 2008). The presumption is not erased when a
20   defendant produces evidence to rebut it; rather the presumption “remains in the case as an
21   evidentiary finding militating against release, to be weighed along with other evidence
22   relevant to factors listed in § 3142(g).” Id., (citing United States v. Dominguez, 783 F.2d
23   702, 707 (7th Cir.1986)).
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1           A.     PRESUMPTION AGAINST DEFENDANT’S RELEASE
2                  1. Statutory Presumption
3           Mr. Ringo is charged with violating § 841 of the Controlled Substances Act.
4    See 21 U.S.C. § 841(a)(1) (prohibiting the manufacturing and distribution of controlled
5    substances). Under §841(b)(1)(C), the maximum prison term for violation of §841(a)(1)
6    of a schedule I controlled substance ranges from 20 years to life imprisonment. A grand
7    jury returned an indictment against Mr. Ringo for conspiring to distribute oxycodone and
8    distributing oxycodone. Dkt. # 46. As a result, probable cause exists that Mr. Ringo
9    committed an offense under the Controlled Substance Act that carries a maximum term of
10   imprisonment of ten or more years, and a rebuttable presumption arises against his
11   release. See 18 U.S.C. § 3142(e)(3)(A).
12          In addition, a grand jury returned an indictment against the Mr. Ringo for
13   possessing a firearm in furtherance of a drug trafficking crime. Dkt. # 46. Therefore,
14   probable cause exists that Mr. Ringo committed an offense under 18 U.S.C. 924(c), and a
15   rebuttable presumption arises against his release. See 18 U.S.C. § 3142(e)(3)(B). In
16   order to overcome the presumption against his release, Mr. Ringo must produce evidence
17   showing that he is not a risk of flight or a danger to the community.
18                 2. Defendant’s Rebuttal
19          During the hearings before the magistrate judge and this Court, Mr. Ringo
20   produced evidence of family ties to prove he does not pose a risk of flight. The Court
21   notes that Mr. Ringo has a two year old son, and that he has close relatives in Los
22   Angeles. The Court finds this evidence suffices to meet his burden of production in
23   relation to the risk of flight. See Abad, 350 F.3d at 797.
24          Mr. Ringo produces no evidence, however, to counter the presumption that he
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1    poses a danger to the community. Mr. Ringo argues that under Dominguez, a Seventh
2    Circuit decision, a court cannot detain him as dangerous under § 3142(e) even if the
3    presumption is not rebutted unless the court finds that no release conditions will
4    reasonably assure the safety of the community. 783 F.2d at 707. Unlike the petitioners
5    in Dominguez, who had no criminal history, Mr. Ringo has been convicted of felony
6    assault with a deadly weapon. Dkt. # 109. The government alleges that Mr. Ringo
7    possessed several firearms at the time of his arrest. Id. This is a clear violation of the
8    terms of his probation, which prohibit him from possessing firearms.2 Dkt. # 109.
9    Accordingly, the Court finds that Mr. Ringo not only has failed to rebut the presumption
10   of danger to the community, but that he poses a real danger to the community.
11          Although Mr. Ringo produced some evidence rebutting the presumption against
12   release, the Court considers this as just one factor in its analysis. See Abad, 350 F.3d at
13   798. The Court finds that application of the additional statutory factors also requires
14   defendant’s detention pending trial.3
15          B.     THE STATUTORY FACTORS WEIGH AGAINST RELEASING
                   DEFENDANT PENDING TRIAL
16
                   1.      Nature and Seriousness of the Offense
17
            Mr. Ringo is charged with serious offenses involving the distribution of large
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     quantities of a schedule I controlled substance, oxycodone. See United States v. Christie,
19
     10-00384SOM, 2010 WL 2900371, at *4 (D. Haw. July 20, 2010) (“The nature of the
20
     offense weighs strongly in favor of detention, as the distribution of drugs is a serious
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22          2
              This allegation directly contradicts Mr. Ringo’s assertion that “he had complied
     with the conditions of his probation.” Dkt. # 107.
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            3
             Where a defendant produces evidence that he does not pose a flight risk or danger to the
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     community, the Court may still consider the presumption as a factor in determining whether he
25   should be detained pending trial. See Abad, 350 F.3d at 797.

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1    offense.” (citing United States v. Townsend, 897 F.2d 989, 994 (9th Cir. 1990))). The
2    United States alleges that Defendant played a leading role in a drug trafficking
3    organization (“DTO”) conspiracy that transported oxycodone from Southern California to
4    Seattle. In addition, the United States alleges that Defendant possessed an AK-47 type
5    semiautomatic rifle and two handguns while participating in the DTO. Dkt. # 109.
6    Because Mr. Ringo allegedly possessed firearms and trafficked in controlled substances,
7    this first factor weighs heavily in favor of pretrial detention.
8                  2.      Weight of the Evidence
9           The second factor also weighs in favor of detention. Law enforcement found Mr.
10   Ringo’s fingerprints on a 4,000 pill package that was seized. Dkt. # 109. The
11   government also alleges that he also sold 200 pills to an undercover law enforcement
12   agent. Id. Mr. Ringo was in possession of three firearms at the time of his arrest, which
13   was a violation of his probation. Id. In addition, Mr. Ringo was in possession of $19,880
14   in cash at the time of his arrest, allegedly drug proceeds. Id. While the weight of the
15   evidence is the least important factor, see Motamedi, 767 F.2d at 1408, it nonetheless
16   weighs against releasing Defendant pending trial.
17                 3.      Defendant’s Character, Physical and Mental Condition, Family
                           Ties, and Past Substance Abuse and Criminal History
18
            This factor weighs against release as well. Mr. Ringo was on probation for a
19
     felony assault with a deadly weapon when he was arrested. The combination of his
20
     felony conviction for assault and his possession of firearms at the time of his arrest
21
     supports a finding that Mr. Ringo poses a risk of danger to the community.
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            Mr. Ringo raises the issue of his medical condition and argues that he is receiving
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     insufficient medical treatment in custody. The United States provided information to
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     show that Mr. Ringo is receiving adequate medical treatment. Dkt. # 111. The Regional
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1    Counsel’s Office for the Federal Bureau of Prisons indicated that all of Mr. Ringo’s
2    medical needs are being met at the Federal Detention Center. Id.
3           Mr. Ringo also argues that his family ties prevent him from being a flight risk and
4    a danger to the community. Dkt. #107. Mr. Ringo’s family ties have not prevented him
5    from allegedly breaking the conditions of his probation by possessing firearms and
6    allegedly trafficking in controlled substances. Dkt. # 109. For all these reasons, the
7    Court finds this factor weighs in favor of pretrial detention.
8                   4.    Nature and Seriousness of the Danger to Any Person or the
9                         Community
10          Analysis under the three prior factors illustrates the danger Mr. Ringo poses to
11   individual persons and the community. The United States alleges Mr. Ringo acted as a
12   leader in a conspiracy involving distribution of oxycodone, and that he makes a show of
13   his firearms. The alleged facts of this case illustrate the inherent danger illegal drug
14   distribution poses to communities. See United States v. Bethea, 763 F. Supp. 2d 50, 54
15   (D.D.C. Cir. 2011) (“The purchase and sale of narcotics is an inherently dangerous
16   activity.”).
17                                         CONCLUSION
18          All statutorily prescribed factors, including the presumption against release, weigh
19   in favor of detaining Mr. Ringo pending trial. Mr. Ringo allegedly engaged in activities
20   involving large quantities of drugs, dangerous weapons, and money laundering. The
21   Court finds by clear and convincing evidence that no condition or combination of
22   conditions will reasonably assure the safety of other persons and the community if Mr.
23   Ringo is released on bond.
24                                              *      *       *
25          For all of the foregoing reasons, and based on its de novo review of the record, the
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1    Court DENIES Defendant’s “Motion to Revoke Detention Order,” (Dkt. # 107), and
2    orders Defendant detained pending trial.
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                  DATED this 1st day of November, 2013.
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                                                A
7                                               Robert S. Lasnik
                                                United States District Judge
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